FORM−ntrydflt

                                      UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF ARIZONA


In re:                                                      Case No.: 2:17−bk−09097−MCW

  JEFFERY MILLER and JENNIFER MILLER                        Chapter: 7
Debtor(s)



   Exceptional Floor Covering, Inc.                         Adversary No.: 2:17−ap−00717−MCW
Plaintiff(s)

v.

  JEFFERY MILLER
  et al.
Defendant(s)



                                             ENTRY OF DEFAULT
It appears from the record that the following defendant(s) have failed to plead or otherwise defend in this case as
required by law.

Jeffery Miller and Jennifer Miller



Therefore, default is entered against the above−named defendant(s) as authorized by Federal Rule of Bankruptcy
Procedure 7055.




Date: December 29, 2017

Address of the Bankruptcy Clerk's Office:                   Clerk of the Bankruptcy Court:
U.S. Bankruptcy Court, Arizona
230 North First Avenue, Suite 101                           George Prentice
Phoenix, AZ 85003−1727
Telephone number: (602) 682−4000
www.azb.uscourts.gov




     Case 2:17-ap-00717-MCW Doc 6 Filed 12/29/17                         Entered 12/29/17 08:42:41           Desc
                         Clerks Entry of Default (Adv)                   Page 1 of 1
